                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
UNITED STATES OF AMERICA,         )
                    Plaintiff,    )
                                  )
v.                                )             No. 07-00007-02/03-CR-W-FJG
                                  )
PHILIP F. CARDARELLA and          )
KATHERYN J. SHIELDS,              )
                      Defendants. )

                                        ORDER
        Currently pending before the Court is Defendants Shields and Cardarella’s Motion

in Limine to Exclude Certain Co-Defendants’ or Government Agent’s Testimony (Doc. No.

107).

        Defendants seek to exclude two statements or conversations involving defendant

Raymond W. Zwego, Jr. (“Zwego”): (1) conversation between defendants Zwego and

Cardarella held on October 26, 2006, and (2) conversation between defendant Zwego and

Government informant Jamie Woolard (“Woolard”) on October 27, 2006.

A.      Exclusion of October 26, 2006 Statement

         Defendants seek to exclude the conversation between Cardarella and Zwego
because it is inadmissible hearsay under the Federal Rules of Evidence. The conversation
at issue was between defendants Zwego and Cardarella and defendant Rodd overheard
the conversation. Allegedly, Zwego “expressed to Cardarella his concern about whether
there should be a direct conversation between Zwego and defendant Shields to make sure
that she too understood the nature of the agreement. Cardarella told Zwego that he would
make sure his wife was aware of the agreement and that Zwego did not need to talk to her
directly” (Doc. No. 82). The Government plans to have both defendants Zwego and Rodd
testify that this conversation took place and that defendant Cardarella made the statement



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in order to implicate both Cardarella and defendant Shields in the conspiracy.
       First, defendants argue this conversation is clearly hearsay and does not fall within
one of the categories that are not hearsay under Fed. R. Evid. 801(d). Defendants argue
just because defendant Shields is married to defendant Cardarella, who at some point met
defendant Zwego, does not mean she know of and joined a conspiracy to commit wire
fraud. Defendants further state that “[w]hat one defendant says he will tell a second
defendant in the future is not evidence that the second defendant knew of any illicit
agreement.”
       Second, defendants argue if the Court admitted this conversation, it would violate
Shields’ constitutional right to confront Cardarella, in the event he chooses not to testify.
Further, according to the defendants, if Zwego or Rodd do not testify, the government
cannot introduce the statements through any federal agent or government informant
because it would violate Rule 801(d)(2)(E) and Bruton.
       Finally, defendants move to exclude the conversation because it is irrelevant under
Fed. R. Evid. 401 and unfairly prejudicial to defendants.
       Government seeks to admit this conversation to prove both Cardarella and Shields
knew of the conspiracy or participated in the conspiracy. Government responds to
defendants’ motion stating the conversation is admissible under 801(d)(2)(E), a non-
hearsay statement by a co-conspirator. In effect, the Government states Cardarella
promised Zwego he would convince Shields to join the scheme. Government argues these
statements were made in furtherance of the conspiracy because the statements were made
to induce enlistment in the conspiracy, were made to recruit new co-conspirators, and were
made to give confidence to those involved in the transaction, all of which, according to the
Government are statements that have been upheld by different appellate courts.
       Additionally, Government argues there is no Bruton issue in admitting the
conversation because “when the statements are those of a co-conspirator and are



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admissible under Federal Rule of Evidence 801(d)(2)(E), the Sixth Amendment and Bruton
are not implicated.” See United States v. Mickelson, 378 F.3d 810, 819 (8th Cir. 2004).
Thus, Government argues since the conversation is admissible under 801(d)(2)(E), there
is no Bruton issue.
       Under Rule 801(d)(2)(E), a statement is not hearsay and is admissible if the
statement was made “by a coconspirator of a party during the course and in furtherance
of the conspiracy.” To avail itself of 801(d)(2)(E), the Government must prove by a
preponderance of the evidence that a conspiracy existed, that the defendant and the
declarant were members of the conspiracy, and that the statement was in furtherance of
the conspiracy. United States v. Lewis, 759 F.2d 1316, 1342 (8th Cir.), cert denied, 474
U.S. 994 (1985). The phrase in “furtherance of a conspiracy” is broadly interpreted. Id.
The Court finds that the Government has met its burden in proving by a preponderance of
the evidence that a conspiracy existed. Defendants Zwego, Cardarella, and Rodd allegedly
discussed how the transaction would take place and the details of the closing. Certainly,
this discussion implicates defendant Cardarella in the conspiracy and such statements
were made in furtherance of the conspiracy. Cardarella’s alleged statement as to making
sure his wife knew of the details may not undoubtedly prove defendant Shields’
involvement in the conspiracy but those issues ultimately are left for the jury to decide.

       The Court rejects defendants’ argument that admitting the October 26, 2006
statement poses an issue under Bruton. In Bruton, the Supreme Court held that the
admission of statements from a non-testifying defendant that inculpated a co-defendant
violated the latter’s Confrontation Clause rights, despite a curative instruction otherwise.
See Bruton v. United States, 391 U.S. 123, 135-36 (1968). However, the Eighth Circuit has
held that Bruton does not apply “where the hearsay statement is otherwise admissible
under Rule 801(d)(2)(E).” United States v. Alcantar, 271 F.3d 731, 739 (8th Cir. 2001) (citing
United States v. Coco, 926 F.2d 759, 761 (8th Cir. 1991))(internal quotations omitted); See


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also United States v. Mickelson, 378 F.3d at 819 (stating that “when the statements are
those of a co-conspirator and are admissible under Federal Rule of Evidence 801(d)(2)(E),
the Sixth Amendment and Bruton are not implicated.”). Thus, since this Court finds that the
October 26, 2006 conversation is admissible under 801(d)(2)(E), no Confrontation Clause
or Bruton issues arise.

      After reviewing the motion in limine, response, and reply suggestions, the Court finds
the Court finds the Government met its burden in proving a conspiracy existed, thus the
October 26, 2006 statement is non-hearsay under the Federal Rules. Therefore,
defendants’ motion in limine (Doc. No. 107) on this issue will be DENIED.

II.   Exclusion of October 27, 2006 Statement

      Defendants also seek to exclude recording of conversation between defendant
Zwego and Jamie Woolard in which Zwego states in relevant part:

      Zwego: Well, ....It’s the seller’s house. The seller’s couldn’t be better. Ah,
      he ah, he said I don’t give a shit what the hell you do, just give me my
      check. That’s the way he put it. He was pretty blunt about it.
Zwego also stated the seller was ahead of the game.

      Defendants argue this conversation is inadmissible for the all reasons they
argued with respect to the October 26, 2006 conversation—the statement is
inadmissible hearsay, the statement does not fall under 801(d)(2)(E), and admitting the
statement would violate Bruton.

      Government responds that these statements are indeed admissible under Fed.
R. Evid. 801(d)(1), 801(c), and 805. Contrary to defendant’s assertion, Government
states it does not rely on 801(d)(2)(E) to admit this conversation. When defendant
Zwego testifies, Government states the out-of-court statement Zwego made to Woolard
will be admissible as non-hearsay under FRE 801(d)(1) because Zwego will be subject
to cross-examination concerning the statement he made to Woolard. Government also


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notes the statement is consistent with Zwego’s testimony about what was said on

October 26, and will be offered to rebut the defendants’ claim that Zwego’s testimony

about what Cardarella said is fabricated or the product of improper influence or motive.

       Lastly, Government argues both of the challenged conversations are admissible

under Fed. R. Evid. 401 and 403 because they are relevant to the question of whether

Cardarella and Shields participated in criminal activity.

       After reviewing the motion in limine, response, and reply suggestions, the Court

will at this time defer ruling on whether the October 27, 2006 statement is admissible

under the Federal Rules of Evidence until trial at which time defendants may renew their

motion in limine. Therefore, defendants’ motion in limine as to this issue (Doc. No. 107)

is DENIED WITHOUT PREJUDICE.

IT IS SO ORDERED.

Date: 6/4/07                                     S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                             Fernando J. Gaitan, Jr.
                                                 Chief United States District Judge




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